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                                         No. 24-3454

                                           In the
       United States Court of Appeals
                              for the Sixth Circuit


             NATHAN ROBERTS, and FREEDOM TRUCK DISPATCH, LLC,
                 on behalf of himself and all others similarly situated,
                                                                           Plaintiffs-Appellants,
                                               v.
  PROGRESSIVE PREFERRED INSURANCE COMPANY; PROGRESSIVE CASUALTY
INSURANCE COMPANY; CIRCULAR BOARD INC., originally named Circular Board, LLC,

                                                                          Defendants-Appellees.


                          _______________________________________
                         Appeal from the United States District Court
              for the Northern District of Ohio at Cleveland, No. 1:23-cv-01597.
                     The Honorable Patricia A. Gaughan, Judge Presiding.


  BRIEF OF AMICUS CURIAE THE EQUAL PROTECTION PROJECT
    SUPPORTING APPELLANTS AND SUPPORTING REVERSAL



                             WILLIAM A. JACOBSON
                      EQUAL PROTECTION PROJECT OF
                   THE LEGAL INSURRECTION FOUNDATION
                              18 Maple Avenue 280
                         Barrington, Rhode Island 02806
                                 (401) 246-4192

              Counsel for Amicus Curiae The Equal Protection Project



   COUNSEL PRESS ∙ (866) 703-9373                               PRINTED ON RECYCLED PAPER
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     24-3454                                      Roberts v. Progressive Preferred Ins. Co
        William A. Jacobson

                 Equal Protection Project of the Legal Insurrection Foundation




No




No




               August 26, 2024


                 William A. Jacobson
               Equal Protection Project of the
               Legal Insurrection Foundation
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                          INTEREST OF AMICUS CURIAE 1

         The Equal Protection Project (EPP) is a project of the Legal Insurrection

Foundation (LIF), 2 a Rhode Island tax-exempt 501(c)(3), devoted to the fair

treatment of all persons without regard to race or ethnicity. 3 Our guiding principle

is that there is no “good” form of racism. The remedy for racism never is more

racism.

         Since its creation in February 2023, EPP has filed more than thirty civil

rights complaints, in various fora, against governmental or federally funded entities

that have engaged in racially discriminatory conduct in various forms, and its work

is ongoing. EPP updates the public on its activities at EPP’s website. 4

         The district court dismissed this case for lack of standing, finding that

Appellants, a trucking company and its White owner, had suffered no injury,

despite being deprived of the ability to apply for and receive a significant monetary




1
 All parties have consented to the filing of this amicus curiae brief. Fed. R. App. P.
29(a)(2).
2
    See, https://legalinsurrectionfoundation.org/.
3
 No party’s counsel authored this brief in whole or in part, no party or party’s
counsel contributed money that was intended to fund preparing or submitting this
brief, and no person—other than the amicus curiae, its members, or its counsel—
contributed money that was intended to fund preparing or submitting this brief.
Fed. R. App. P. 29(a)(4)(E).
4
    See, https://equalprotect.org/.


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grant solely because of the owner’s skin color. 5 Failure to reverse this dismissal

will have a profoundly negative impact on EPP’s attempt to vindicate

constitutional and statutory protections against racial discrimination, for two

reasons.

        First, the district court’s order was based on an erroneous interpretation of

this Court’s ruling in Aiken v. Hackett. 6 The district court held that Aiken requires a

plaintiff to allege that it would have received the grant it was applying for absent

the discrimination. That is not what Aiken held. Second, affirmance of the district

court’s finding of no injury in cases of clear racially discriminatory conduct will

help normalize racial discrimination and render the very real, irreparable harm that

flows from racial discrimination irremediable.

        In addition, EPP addresses an argument raised in the district court by amici

curiae the Southern Poverty Law Center (“SPLC”), Lawyers’ Committee for Civil

Rights Under Law, the Hispanic National Bar Association, and Asian Americans

Advancing Justice – AAJC (collectively, “SPLC”). 7 That argument, which will

likely be reiterated in this Court in support of Appellees, asserts that 42 U.S.C. §

1981 does not protect the interests of White citizens. That is not the law.


5
 Roberts v. Progressive Preferred Ins. Co., No. 1:23-cv-01597-PAG, 2024 WL
2295482 (N.D. Ohio May 21, 2024).
6
    281 F.3d 516 (6th Cir. 2002).
7
    SPLC Updated Amici Curiae Brief, RE 36-1.


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         Finally, although unaddressed by the district court due to its holding on

standing, Defendants, now Appellees, had each moved to dismiss this action on a

ground apart from standing; 8 namely, that “to alter the eligibility criteria” for the

contract in this case “would infringe Progressive’s First Amendment right to

freedom of expression.” 9 This argument, should it be raised on this appeal by

Appellants and supportive Amici, would have a profoundly negative impact on

EPP’s attempt to vindicate constitutional and statutory protections against racial

discrimination because it would carve out a massive loophole by which

discriminatory conduct would be excused as protected speech. Such a judgment,

were it to issue, would eviscerate not only 42 U.S.C. § 1981, but also other civil

rights laws.

         While EPP supports Appellants’ arguments in favor of reversal, 10 EPP

submits this brief to address three areas squarely in EPP’s experience: (i) the

destructive effects and irreparable harm resulting from racially discriminatory

conduct, (ii) the broad protections afforded by civil rights statutes, including 42

U.S.C. § 1981, which protect citizens of all races from racially discriminatory




8
    Appellees’ Motions to Dismiss, RE 34 (Progressive), 35 (Circular Board).
9
    Appellee Progressive’s Motion to Dismiss, RE 34, Page ID # 350.
 EPP submits its specific arguments on standing as additional grounds to those of
10

Appellants supporting reversal.

                                            3
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contract, and (iii) the societal trend toward increased racial discrimination in the

name of anti-racism.

                                    ARGUMENT
I.    The district court erroneously held that Plaintiffs/Appellants have not
      alleged injury from Appellees/Defendants’ racially discriminatory
      conduct.

      The district court dismissed this case because it reasoned that under this

Court’s controlling precedent, Plaintiffs, now Appellants, simply were not injured

by Appellee/Defendants’ racially discriminatory conduct. Roberts, 2024 WL

2295482, at *4 (citing Aiken, 218 F.3d at 519). The district court held that Aiken

requires a plaintiff to allege both that a “racial preference cost them some benefit,”

and that “under a race-neutral policy they would have received the benefit.” Id.

(quoting Aiken, 218 F.3d at 519)(cleaned up). While that statement from Aiken is

quoted accurately, the district court erred by taking that language in isolation and

out of context.

      In Aiken, a group of 177 City of Memphis, Tennessee police officers

competed for 94 police sergeant jobs and were ranked for promotion by their

“composite scores.” The City nonetheless promoted 18 Black officers who had not

scored in the top 94, resulting in the lawsuit by White officers who were not

promoted. But neither the lead plaintiff, Aiken, nor his co-plaintiffs, who were also

White, had scored in the top 94. In other words, even if there had been no racial



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preference, Aiken would not and could not have been promoted using the City’s

criteria. “[I]t appears beyond debate that absent the forbidden criterion used by

the City, the Appellants still would not have been promoted to sergeant,” as this

Court observed. “The Appellants’ composite scores (not the City’s affirmative

action program) kept them from being promoted.” Aiken, 218 F.3d at 518-19.

These parties had no standing because, empirically, they could not have been

injured due to racial discrimination – which is not the case here.

      The other cases cited by Aiken and the district court are the same. In Texas

v. Lesage, 528 U.S. 18 (1999), the University of Texas selected 20 PhD candidates

out of a pool of 223 applicants, but Lesage’s application was so poor in comparison

to others that it did not even make it into the university’s field of the top 40

applicants. Id. at 19. Thus while the university had taken race into account in

making its final selections, there was no way, even in a race-neutral setting, Lesage

would have been selected. Id. at 20. Where, the Court explained, it is undisputed

that a “discrete” decision would have come out the same way regardless of the

application of a race-based criterion, “there is no cognizable injury warranting

relief.” Id. at 21. See also Donahue v. City of Boston, 304 F.3d 110 (1st Cir. 2004),

in which plaintiff’s application for appointment to the police academy was so poor

that 580 other applicants would have had to be rejected before the City reached

Donahue’s application. N.E. Fla. Chapter of Assoc. Gen. Contractors of Am. v.



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City of Jacksonville [AGC], 508 U.S. 656, 666 (1993)(plaintiff not “required to

allege that but for a [racially] discriminatory policy, [benefit] would have been

awarded”; rather, “allegation that a ‘specific project’ was ‘precluded’ by . . .

[racially discriminatory] ordinance . . . sufficient to establish standing.”). Thus a

plaintiff is not required to allege that he would have received a benefit to establish

standing; but, consistent with the rule of Aiken, a plaintiff that could not and would

not have received a benefit even absent racially discriminatory conduct has no

standing.

      That is certainly not the case here, where absent the racially discriminatory

criteria used by Appellees, Appellants could have, and very possibly would have

been selected for Progressive’s contractual grant program. Appellant Roberts

plausibly thought this was a definite possibility, as he immediately, upon receipt of

the grant program application, began filling it out. And he was so incensed that he

was ineligible to apply solely because of his skin color, that he immediately sent

the application off to a civil rights organization he hoped would defend his rights in

court. Under these circumstances, Aiken, Lesage, AGC and Donahue are no bar to

Appellants prosecuting this case, and presented with such facts, the Court deciding

each would have acknowledged Appellants’ standing to do so.

      Appellees’ position in this regard is especially suspect in that Progressive’s

very reason for this contest was to remedy the alleged harm caused by what



                                           6
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Progressive claims is past and ongoing discrimination against Black business

owners:

      Progressive sells insurance, including commercial auto insurance.
      Progressive also engages in various philanthropic activities, including
      funding grants that support small businesses. In 2023, via the Grant
      Program, Progressive offered $25,000 grants to ten Black-owned
      small businesses. It did so because [m]ultiple studies have shown how
      inequities have made it hard for Black entrepreneurs to access
      capital. Progressive thus determined to donate funds to alleviate this
      challenge.

Appellee Progressive’s Motion to Dismiss, RE 34, Page ID # 336 – 337 (emphasis

added). Defendant Circular Board (d/b/a Hello Alice) made a similar claim, in

even more vehement language:

      Hello Alice’s mission is to help small businesses, and Hello Alice
      vehemently opposes racial discrimination. Indeed, a critical
      component of Hello Alice’s mission is to combat the effects that
      generations of pernicious racism have had on America’s capital
      infrastructure. Federal law does not compel purely private actors like
      Hello Alice, when choosing how and to whom they will donate
      money, to blind themselves to the centuries of invidious racism that
      have produced substantial existing racial inequities in access to
      capital. As the amici organizations explain, this suit is in fact
      ‘antithetical to and outside the scope of Section 1981’s congressional
      purpose.’

Appellee Circular Board’s Motion to Dismiss, RE 35, Page ID # 368 (italics in

original, bold added)(quoting SPLC Initial Amici Curiae Brief, RE 21-1, Page ID #

203). Appellees’ argument is that its grant program is required to rectify

“inequities” because past and present discrimination against Black business owners

caused them to suffer disadvantages in “access to capital,” i.e. injuries-in-fact. Yet

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they simultaneously argue that the very same type of discrimination that Black

business owners suffered would not cause harm to those discriminated against by

their grant program. Appellees cannot have it both ways logically or legally.

      Other cases in and out of this Circuit agree that racially discriminatory

application processes cause injury. See Perrea v. Cincinnati Pub. Sch., 709 F.

Supp. 2d 628, 640 (S.D. Ohio 2010)(“one form of injury . . . is being forced to

compete in a race-based system that may prejudice the plaintiff”); Rogers v.

Windmill Pointe Vill. Club Ass’n, Inc., 967 F.2d 525, 528 (11th Cir. 1992)(“injury

may be presumed from the fact of discrimination”); Agudath Israel of Am. v.

Cuomo, 983 F.3d 620, 636 (2d Cir. 2020)(a “presumption of . . . injury flows from

a violation of constitutional rights); Ass’n for Fairness in Bus. Inc. v. N.J., 82 F.

Supp. 2d 353, 363 (D.N.J. 2000)(irreparable injury where plaintiffs were forced to

“compete on an unfair playing field” because of racial set-aside program); Vitolo v.

Guzman, 999 F.3d 353, 361 (6th Cir. 2021)(irreparable harm exists where

government was allocating limited coronavirus relief funds “based on the race and

sex of the applicants”). The district court erred by failing to recognize this

overarching rule at the heart of the civil rights laws.

II.   42 U.S.C. § 1981 proscribes racial discrimination in the making or
      enforcement of contracts against, or in favor of, any race.

      SPLC argued in the district court, and presumably will argue here, that

“Plaintiffs’ perversity in weaponizing this country’s long-standing commitment to


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equalizing economic opportunities for Black business owners is antithetical to and

outside of the scope of Section 1981 . . . .” SPLC Updated Amici Curiae Brief, RE

36-1, Page ID # 435. SPLC went on to argue that “Section 1981 should not now

be weaponized in 2023 to challenge remedial philanthropic programs aimed at

providing opportunities for Black business owners,” id. at #440, and that this Court

“should not incentivize businesses to weaponize Section 1981.” Id. at #445.

      Yet SPLC reluctantly concedes, as it must, “that Section 1981 ‘prohibits

racial discrimination against all groups,’” id. at #441, quoting Murray v.

Thistledown Racing Club, Inc., 770 F.2d 63, 67 (6th Cir. 1985), but argues that “the

Sixth Circuit has explained that ‘the majority plaintiff who asserts a claim of racial

discrimination’ must still do so ‘within the historical context of the Act.’” Id.

SPLC fails to explain what Murray meant by this, however, and omits a key phrase

from Murray, which actually said as follows: “As with the minority plaintiff, the

majority plaintiff who asserts a claim of racial discrimination in employment does

so within the historical context of the Act,” 770 F.2d at 67. That is, § 1981 does

apply to a plaintiff in a case where plaintiff was “discriminated against ‘despite his

majority status,’” id. (quoting Lanphear v. Prokop, 703 F.2d 1311, 1315 (D.C. Cir.

1983)), which is exactly the case here.

      At bottom, SPLC’s argument is that 42 U.S.C. § 1981 cannot, or perhaps

should not, be used by White plaintiffs – the same argument made in Judge



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Wilson’s dissent in Am. Alliance for Equal Rights v. Fearless Fund Mgmt., LLC,

No. 23-13138, 2023 WL 6520763, at *2 (11th Cir. Sept 30, 2023), which SPLC

cites approvingly.11 There, Judge Wilson argued that “Plaintiffs bringing a cause of

action under § 1981 must show that . . . they are a member of a racial minority . . .”

Id. This legally erroneous assertion was rejected by the panel majority, who

observed properly that the “Supreme Court has held that Section 1981 ‘was meant,

by its broad terms, to proscribe discrimination in the making or enforcement of

contracts against, or in favor of, any race.’” Id. at *1, quoting McDonald v. Santa

Fe Trail Transp. Co., 427 U.S. 273, 295 (1976).

        Additionally, Judge Wilson ignored – as SPLC ignores – the lineage of the

cases on which he relied; a series of Eleventh Circuit cases that all trace their

origins to a Florida district court opinion, Baker v. McDonald’s Corp., 686 F. Supp.

1474 (S.D. Fla. 1987), aff’d without opinion, 865 F.2d 1272 (11th Cir.

1988)(table). Baker¸ however, merely cited the text of § 1981 as authority for the

idea that a § 1981 plaintiff must be a racial minority.

        Section 1981, of course, contains no such limitation, and the view that it

does simply ignores Justice Thurgood Marshall, the author of McDonald, 427 U.S.

273, who thoroughly dismantled the idea that § 1981 was not colorblind:

        The question here is whether [§] 1981 prohibits racial discrimination
        in private employment against whites as well as nonwhites. . . .
11
     SPLC Updated Amici Curiae Brief, RE 36-1, Page ID # 439.

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       [O]ur examination of the language and history of [§] 1981 convinces
       us that [§] 1981 is applicable to racial discrimination in private
       employment against white persons. . . .

       While it is, of course, true that the immediate impetus for the bill was
       the necessity for further relief of the constitutionally emancipated
       former Negro slaves, the general discussion of the scope of the bill did
       not circumscribe its broad language to that limited goal. On the
       contrary, the bill was routinely viewed, by its opponents and
       supporters alike, as applying to the civil rights of whites as well as
       nonwhites. . . .

Id. at 285-87, 289 (citing the extensive legislative history of 42 U.S.C. § 1981).

       This Court should not credit SPLC’s expected suggestion that 42 U.S.C. §

1981 does not protect the rights of White plaintiffs; rather, this Court should

reiterate the legal principle that Section 1981 applies to plaintiffs of all races and

does not bar Appellants’ claim.

III.   Affirmance based on Appellees’ argument on the “free speech” issue
       would gut existing antidiscrimination civil rights laws.

       Although not addressed by the district court due to its standing rationale, this

Court could conceivably address arguments pressed by Appellees in the district

court regarding racial discrimination being excused as free speech. 12 We urge that

the Court decline the invitation to proceed down that treacherous path.




12
  See Schafer v. Multiband Corp., 629 F. Appx. 653, 658 (6th Cir. 2015)(“we
may affirm lower court judgments on alternative legal grounds not relied upon by
the district court”).


                                           11
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        Appellees’ arguments focused on this central proposition: “In certain

circumstances, application of a civil rights law that would infringe expressive

conduct must yield to the First Amendment.” Appellee Progressive’s Motion to

Dismiss, RE 34, Page ID # 349 (citing 303 Creative LLC v. Elenis, 143 S. Ct. 2298,

2314–15, 2320 (2023) and Coral Ridge Ministries Media, Inc. v. Amazon.com,

Inc., 6 F.4th 1247, 1256 (11th Cir. 2021)). “Compelling Progressive to alter the

eligibility criteria for the Grant Program would infringe Progressive’s First

Amendment right to freedom of expression. A decision about where or to whom to

donate money expresses a distinct message of support for the recipient. . . .

Prohibiting an organization from making grants to only the grantees it wishes to

support alters that organization’s expression.” Id. at 17. Progressive’s argument

misstates core constitutional law.

        As a preliminary matter, this case is fundamentally different from 303

Creative. There, the Supreme Court held that antidiscrimination statutes could not

be used to compel the creation of speech with which the speaker disagrees. Here,

the issue is whether the First Amendment protects racially discriminatory conduct.

The U.S. Supreme Court already addressed this issue in Runyon, 13 and clearly

stated that it does not. Moreover, the Supreme Court has also ruled that not only is

discriminatory conduct not protected by the First Amendment, but even some

13
     Runyon v. McCrary, 427 U.S. 160 (1976).


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speech is afforded no First Amendment protection, in cases ranging from fighting

words to defamation to true threats and in other cases. As the Supreme Court

observed, “If combining speech and conduct were enough to create expressive

conduct, a regulated party could always transform conduct into ‘speech’ simply by

talking about it.” Rumsfeld v. Forum for Academic & Institutional Rights., Inc.,

547 U.S. 47, 66 (2006).

      Recognizing a “free speech” exception to unlawful discriminatory conduct

would have disastrous consequences for enforcement of the civil rights laws, as

EPP understands from its own experience.

      For example, in July 2023, EPP filed a civil rights Complaint with the U.S.

Department of Education’s Office for Civil Rights (“OCR”) charging New York

University (“NYU”) with civil rights violations for a racially discriminatory

program 14 which was open only to White parents. 15 The basis for the Complaint

was that the program, as here, violated 42 U.S.C. § 1981, and also Title II of the

Civil Rights Act of 1964 (“Title II”), Title VI of the Civil Rights Act of 1964




14
  NYU Whites-Only “Anti-Racist” Workshop Challenged By Equal Protection
Project¸ available at https://legalinsurrection.com/2023/07/nyu-whites-only-anti-
racist-workshop-challenged-by-equal-protection-project/.
15
  Office of Civil Rights Administrative Complaint (hereinafter “OCR
Complaint”), July 14, 2022, available at https://legalinsurrection.com/wp-
content/uploads/2023/07/OCR-Complaint-New-York-University.pdf.


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(“Title VI”), and New York State and New York City Human Rights Laws. See

OCR Complaint at 1-2.

         When questioned during the workshop about the reasons for having a white-

only workshop, NYU’s instructor stated:

         The purpose [of the workshop] is to create space where we can talk
         about our racism with each other and support each other through that
         and hold each other accountable to show up differently and without
         burdening the people of color in our lives …. So we have to figure
         it out amongst ourselves, we have to talk about the hard things, we
         have to be able to say them out loud, we have to have the safety to do
         that without having to worry about harming people of color and … to
         practice anti-racist ways of being and come back to each other for
         support and accountability…. And it’s actually so that we can show
         up better in multiracial spaces.

OCR Complaint at 1-2 (emphasis in original). This rationale did not, however,

provide a legal justification to NYU’s actions, as EPP argued in its Complaint.

         While this case and the NYU case are not identical, the legal principle that

needs to be vindicated is the same; a party cannot escape liability for racially

discriminatory conduct by “expressing a distinct message” in support of that

unlawful conduct.

         EPP has filed numerous similar cases 16 premised on the well-established rule

that discriminatory conduct cannot evade civil rights scrutiny merely because it




16
     See, https://equalprotect.org/cases/.


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incorporates some form of expression – a device that would render civil rights laws

meaningless. This Court must not let that happen.

      Indeed, one aspect of this case that Appellees appear not to have considered

is the impact affirmance based on their free speech arguments will have on the very

minority individuals Appellees purport to be assisting. If Appellees prevail in this

argument, there would be nothing stopping another entity similar to Appellees from

running an identical contractual grant program open only to entrepreneurs who are

White. The result would be the growth of an entire discriminatory, Jim Crow-like

nationwide regime, where discrimination against any and all individuals based on

any skin color would not only be legal, but it would also likely become the norm.

      In sum, this Court must reverse the district court’s erroneous order that

Appellants lack standing, and refrain from affirming on “free speech” grounds.

                                  CONCLUSION

      For the foregoing reasons, this Court should reverse the district court and

remand with instructions to deny Defendants’ motions to dismiss.

                                Respectfully submitted,

                                /s/ William A. Jacobson
                                William A. Jacobson
                                Equal Protection Project of the Legal Insurrection
                                Foundation
                                18 Maple Avenue 280
                                Barrington, Rhode Island 02806
                                (401) 246-4192



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